Case 4:18-cr-00167-GKF Document 2 Filed in USDC ND/OK on 08/08/18 Page 1 of 8

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UNITED STATES OF AMERICA, ) Case No. F T_Y 1 §§ FK;Q;°§’€F
) ii ;f.,,;.£ _,,r~; "'~ ~»`- ~'
Plaintiff, ) INDICTMENT
) [COUNTS 1 & 2: 42 U.S.C. § 1320a-
v. ) 7b(b)(1)(A) - Illegal Remuneration for
) Health Care Referrals;
ADAM GALLARDO ) Forfeiture Allegation: 18 U.S.C.
ARRENDONDO, ) § 982(3)(7) - Health Care Forfeiture]
)
Defendant. )

THE GRAND JURY CHARGES:

CoUNTS oNE AND Two
[42 U.s.C. § 1320a-7b(b)(1)(A)]

ENTITIES

l. Defendant, ADAM GALLARDO ARREDONDO, (“ARREDONDO”) is
a physician licensed in the state of Texas. ARREDONDO owned and operated Texas
Anesthesia and Pain Management in Waxahachie, TeXas With a satellite office in
Corsicana, Texas.

2. OK Compounding,'LLC (OK Coinpounding) Was an Oklahoma Limited
Liability Company located in Skiatook, Oklahoma With its business office in Tulsa,
Oklahoina. OK Compounding specialized in the preparation of compounding
prescriptions The majority of the compounding prescriptions filled by OK Compounding
Were delivered out of state.

3. Pharmacy Providers of 0klahoma (PPOK) is a company that represented

independent pharmacies in negotiations With insurance companies ln addition, PPOK

Case 4:18-cr-00167-GKF Document 2 Filed in USDC ND/OK on 08/08/18 Page 2 of 8

would bill insurance companies and federal healthcare programs for prescriptions filled by
its member pharmacies Therefore, all contracts with insurance companies and federal
healthcare programs would be in the name of PPOK and all prescriptions would flow
through PPOK. OK Compounding was a member of PPOK.

4. In general, “compounding” was a practice in which a licensed pharmacist or
licensed physician combines, mixes, or alters ingredients of a drug or multiple drugs to
create a drug tailored to the needs of an individual patient. Compounded drugs were not
FDA-approved, that is, the FDA does not verify the safety, potency, effectiveness or
manufacturing quality of compounded drugs

5. R&A Marketing, LLC (R&A l\/larketing) was a TeXas Limited Liability
Company located at Houston, Texas Beginning in Septernber, 2012, R&A Marketing
contracted with OK Compounding to recruit physicians to enter into Medical Director
Contracts with OK Compounding

6. In the fall of 2012, R&A Marketing recruited ARREDONDO for OK
Compounding On January l, 2013, ARREDONDO signed a Consulting Physician
Agreement with OK Compounding. The Agreement Stated ARREDONDO would provide
a list of particular services in exchange for hourly payment The services included
reviewing charts, participating in meetings with pharmacy, developing policies and being
available to answer clinical questions for pharmacy staff and/or treating physicians

7. ARREDONDO did not provide the type of services listed in the Consulting
Physician Agreement; rather, he was paid for sending all of his patients’ compounding

prescriptions to OK Compounding.

Case 4:18-cr-00167-GKF Document 2 Filed in USDC ND/OK on O8/O8/18 Page 3 of 8

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8. TRICARE provided health care coverage for Department of Defense (DOD)
beneficiaries world-wide, including active duty service members, National Guard and
Reserve members, retirees, their families, and survivors

9. Individuals who received health care benefits through TRICARE were
referred to as TRICARE beneficiaries The Defense Health Agency (“DHA”), an agency
of the DOD, was the military entity responsible for overseeing and administering the
TRICARE program.

lO. TRICARE provided coverage for certain prescription drugs, including
certain compounded drugs if the drugs were medically necessary and prescribed by a
licensed physician. Express Scripts is the company that administered the TRICARE
prescription program. If a beneficiary chose a network pharmacy, the pharmacy would
collect any applicable co-pay from the beneficiary, dispense the drug to the beneficiary,
and submit a claim for reimbursement to Express Scripts, which would in turn adjudicate
the claim and reimburse the pharmacy. To become a TRICARE network pharmacy, a
pharmacy agreed to be bound by, and comply with, all applicable State and F ederal laws,
specifically including those addressing fraud, waste, and abuse.

ll. OK Compounding, through PPOK, Submitted claims for prescription
compounding drugs it dispensed to TRICARE beneficiaries TRICARE was a “Federal

health care program,” as defined by 42 U.S.C. § l320a-7b(f), that affected commerce.

Case 4:18-cr-00167-GKF Document 2 Filed in USDC ND/OK on O8/O8/18 Page 4 of 8

MEDICARE

12. l Medicare provided benefits to individuals who were 65 years and older or
disabled. Medicare was administered by the Centers for Medicare and Medicaid Services,
a federal agency under the United States Department of Health and Human Services.

13. lndividuals who qualified for Medicare benefits were referred to as Medicare
“beneficiaries.” Each beneficiary was given a unique health insurance claim number.
Health care providers who provided medical services that were reimbursed by Medicare
were referred to as Medicare “providers.”

l4. To participate in Medicare, a provider was required to submit an application
in which the provider agreed to comply with all Medicare-related laws and regulations If
Medicare approved a provider’s application, Medicare assigned the provider a Medicare
“provider number,” which was used for processing and payment of claims

15. A health care provider with a Medicare provider number could submit claims
to Medicare to obtain reimbursement for services and products provided to Medicare
beneficiaries

16. Most providers submitted their claims electronically pursuant to an
agreement they executed with Medicare in which the providers agreed that they: (a) were
responsible for all claims submitted to Medicare by themselves, their employees, and their
agents; (b) would submit claims only on behalf of those Medicare beneficiaries who had
given their written authorization to do so; and (c) would submit claims that were accurate,

complete, and truthful.

Case 4:18-cr-00167-GKF Document 2 Filed in USDC ND/OK on O8/O8/18 Page 5 of 8

l7. Medicare Part D provided coverage for outpatient prescription drugs
Medicare beneficiaries were able to obtain Part D coverage through: (l) enrollment in one
of many prescription drug plans (“PDP”), which covered only prescription drugs and were
offered by qualified private insurance plans (often referred to as drug plan “sponsors”),
which received reimbursement from Medicare; or (2) a Medicare Advantage plan that
covered both prescription drugs and medical services A beneficiary was responsible for
any deductible or co-payment required under his or her PDP.

18. Medicare reimbursed providers for certain compounded drugs that were
medically necessary to the treatment of a beneficiary’s illness or injury, were prescribed
by a beneficiary’s physician or a qualified physician’s assistant acting under the
supervision of a physician, and were provided in accordance with Medicare regulations
and guidelines that governed whether a particular service or product would be reimbursed
by Medicare.

l9. A pharmacy provider was required to provide certain information when filing
claims with Medicare. This information included: identification of the person or entity
that provided the medication, identification of the medication that was provided,
identification of the prescribing physician, identification of the beneficiary, and the date
the prescription was dispensed

20. OK Compounding, through PPOK, submitted claims for prescription
compounding drugs it dispensed to Medicare beneficiaries Medicare was a “Federal

health care program,” as defined by 42 U.S.C. § 1320a-7b(f), that affected commerce.

Case 4:18-cr-00167-GKF Document 2 Filed in USDC ND/OK on O8/O8/18 Page 6 of 8

Department of Labor - Offlce of Workers’ Compensation Programs

Zl. The Federal Employees’ Compensation Act, Title 5, United States Code,
Sections 8101, et seq. (“FECA”) provided certain benefits to civilian employees of the
United States, for wage-loss disability due to a traumatic injury or occupational disease
sustained while working as a federal employee (the “FECA program”). The foice of
Workers' Compensation Programs (“OWCP”), a component of the Department of Labor
(“DOL”), administered the FECA program, which was a federal workers’ compensation
program focused on return to work efforts

22. When a qualified employee suffered a work-related injury, the employee
filed a cla-im for coverage with OWCP, which then assigned the claimant an ()WCP claim
number.

23. To obtain reimbursement for prescription drugs provided to OWCP
claimants (hereinafter referred to as beneficiaries), a pharmacy had to submit its
prescription claims for payment to OWCP, using the beneficiary’s OWCP claim number.
By submitting a claim for reimbursement with OWCP, the pharmacy provider certified that
the service or product for which reimbursement was sought was medically necessary,
appropriate, and properly billed in accordance with accepted industry standards

24. OWCP would process the claims submitted by the provider, and if all
required information was included, OWCP would reimburse the provider in accordance
with an established fee schedule.

25 . OK Compounding, through PPOK, submitted claims for prescription

compounding drugs it dispensed to FECA beneficiaries The FECA program was a

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Case 4:18-cr-00167-GKF Document 2 Filed in USDC ND/OK on O8/O8/18 Page 7 of 8

“Federal health care program,” as defined by 42 U.S.C. § l320a-7b(f), that affected
commerce.

26. The Grand Jury hereby incorporates and realleges paragraphs l through 25
of this Indictment. l

27. On or about the following dates as stated in the table below, in the Northern
District of Oklahoma and elsewhere, the defendant, ADAM GALLARDO ~
ARREDONDO, did knowingly and willfdlly solicit and rece`ive, remuneration, that is,
checks payable in the amounts set forth below, in return for referring compounding
prescriptions to OK Compounding for the furnishing and arranging for the furnishing of
compounded topical creams, items for which payment was made in whole or in part by

federal programs, TRICARE, Medicare and/or DOL-OWCP.

 

Check number 4034, drawn on the OK
ONE August 143 2013 Compounding IBC Bank Account, in the
' amount of $lO,()OO, payable to ARREDONDO

 

 

Check number 4324 , drawn on the OK
TW() September 13, 2013 Compounding IBC Bank Account, in the
amount of $l0,000 payable to ARREDONDO

 

 

 

A11 in violation Of 42 U.s.c. § 1320a-7b(b)(1)(A).

 

Case 4:18-cr-00167-GKF Document 2 Filed in USDC ND/OK on O8/O8/18 Page 8 of 8

HEALTH CARE FoRFEITURE ALLEGATIoN
[18 U.s.C. § 982(3)(7)]

The allegations contained in Counts One and Two of this Indictment are hereby
realleged and incorporated by reference for the purpose of alleging forfeiture pursuant to
Title 18, United States Code, Section 982(a)(7).

Upon conviction of the health care offenses alleged in Counts One and Two of this
Indictment, as part of his sentence, the defendant, ADAM GALLARDO ARREDONDO,
shall forfeit to the United States any property, real or personal, constituting or derived from,
directly or indirectly, the gross proceeds traceable to such offenses A criminal forfeiture
money judgment shall also be entered in a sum of money in an amount of at least $20,000,
representing proceeds obtained as a result of such offenses n

Pursuant to Title 21, United States Code, Section 853(p),as adopted by Title 28,
United States Code, Section 2461(c), the defendant shall forfeit substitute property, up to
the value of the property described above if, by any act or omission of the defendant, the
property described above, or any portion thereof, cannot be located upon the exercise of
due diligence; has been transferred or sold to, or deposited with, a third party; has been
placed beyond the jurisdiction of the court; has been substantially diminished in value; or
has been commingled with other property which cannot be divided without difficulty

All pursuant to Title 18, United States Code, Section 982(a)(7).

R. TRENT SHORES A TRUE BILL
UNITED STATES ATTORNEY

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Assistant United States Attorney

